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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


 In Re: HERBERT G. ROGERS, III                                                    CHAPTER 7
                                                                             NO: 11-15431 JDW

                           APPLICATION TO EMPLOY COUNSEL

        COMES NOW the Debtor, Herbert G. Rogers III, by and through counsel of record and

 files this his Application to Employ Counsel in an adversarial claim/lawsuit against Merchants &

 Farmers Bank. In support thereof, Debtor by and through counsel states as follows, to-wit:

                                                1.

        Smith Whaley PLLC, by and through Justin S. Cluck, was retained by Debtor to pursue

 an adversarial claim/lawsuit against Merchants & Farmers Bank.

                                                2.

        An adversarial lawsuit was filed against Merchants & Farmers Bank in the case styled

 Herbert Rogers v. Merchant & Farmers Bank, Adversarial No. 11-01250-DWH.

                                                3.

        At the time of filing of the adversarial proceeding the debtor was represented in the

 bankruptcy by Robert Gambrell, attorney-at-law, who continues to represent the debtor in this

 bankruptcy proceeding.

                                                4.

        There was no Order approving employment of Smith Whaley PLLC entered prior to the

 initiation of the adversarial proceeding because undersigned counsel was unaware that such an

 order might be required. Regardless of whether an order employing counsel was entered the

 adversarial proceeding materially benefited the Bankruptcy Estate of Herbert Rogers.
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                                                  5.

        Smith Whaley PLLC, by and through Justin S. Cluck, and Herbert G. Rogers III entered

 into a contract for legal representation pertaining to the adversarial proceeding which specified

 that the law firm would bill for its' services at an hourly rate of $200.00 per hour in addition to

 reimbursement of reasonable and necessary expenses for services rendered in pursuing the

 Debtors’ adversarial cause of action. A copy of the contract which establishes the agreement is

 attached as Exhibit “A”.

                                                  6.

        Smith Whaley PLLC, by and through Justin S. Cluck, were and are qualified and

 competent practicing attorneys and attached hereto as Exhibit “B” is the Affidavit of Attorney

 Justin S. Cluck.

                                                  7.

        Smith Whaley PLLC, by and through Justin S. Cluck, represents no interest adverse to

 the estate and their employment was in the best interest of the estate.

        WHEREFORE, the Debtor by and through counsel of record request that, after due

 notice is given to all creditors and parties-in-interest, this Honorable Court enter an Order

 retroactively employing Smith Whaley and/or ratifying the employment of Smith Whaley PLLC

 for the purposes of the adversarial litigation against M & F Bank. Debtor further requests the

 Court grant any other relief as the Court may deem just and proper.

        RESPECTFULLY SUBMITTED, on this the 8th day of December, 2015.


                                               HERBERT G. ROGERS III,

                                               By: /s/ Justin S. Cluck_________
                                               JUSTIN S. CLUCK, MSB# 100733
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 jcluck@smithwhaley.org




                                 CERTIFICATE OF SERVICE

        This is to certify that I, Justin S. Cluck, attorney for the Debtor, do hereby certify that I

 have sent the foregoing to all ECF participants of record


        SO CERTIFIED, this the 8th day of December, 2015.



                                                      /s/ Justin S. Cluck___
                                                      JUSTIN S. CLUCK
